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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

LARRY D. WILLIAMS, II,                         §
                                               §
                       Plaintiff,              §
                                               §
v.                                             §          CIVIL ACTION NO. 4:19-cv-782
                                               §                JURY DEMANDED
                                               §
APPLE INC.; AND                                §
DOE DEFENDANTS 1-100,                          §
                Defendants.                    §

                                               ORDER

       This cause having come on for hearing on Defendant's Motion to Dismiss and the court

having considered the arguments of counsel and all evidence submitted in support of and against

this motion, it appears to the court that Plaintiff has alleged and presented facts that are

sufficiently clear, detailed enough to be presented to the trier of fact finders.

       THE COURT FINDS THAT:

       A.      This court has temporary jurisdiction to hear the matter presented, has found that

Defendant has failed to present a sound argument and reasoning based in law to have this matter

properly dismissed by this court.

       WHEREFORE, it is ordered that the Plaintiff's motion is GRANTED and that

Defendant’s Motion to Dismiss be DENIED.

       FURTHER, it is order that Defendant motion to dismiss should be DENIED.

       SIGNED THIS                                     , 2019.

                                               _______________________________________
                                               JUDGE UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION




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